Case 3:07-cr-30065-MJR            Document 74            Filed 10/11/07    Page 1 of 1      Page ID #114




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                           )
                                                     )
                                  Plaintiff,         )
                                                     )
                 vs.                                 )        Case No. 07-cr-30065-03-MJR
                                                     )
 CHERYL LYNN DILL,                                   )
                                                     )
                                  Defendant.         )

                              ORDER CLARIFYING CONTINUANCE

 REAGAN, District Judge:

                 Dill’s plea and sentencing in this case was set for October 11, 2007 at 10:00 a.m. On

 October 10, 2007, Dill moved to continue her plea and sentencing. The Government has no objection

 to the motion for continuance.

                 Pursuant to 18 U.S.C. § 3161(h), the Court FINDS that the ends of justice served by this

 continuance outweigh the best interest of the public and Dill in a speedy trial. Accordingly, the Court

 GRANTS Dill’s motion, and CONTINUES her plea and sentencing to 3:00 p.m. on Friday, November

 30, 2007. Because this is the only available date the Court has prior to the trial of Dill’s co-defendants,

 no further continuances will be granted.

                 The period of delay resulting from this continuance is excludable under the Speedy Trial

 Act, 18 U.S.C. § 3161(h).

                 IT IS SO ORDERED.

                 DATED this 11th day of October 2007.


                                                                   s/ Michael J. Reagan
                                                                   MICHAEL J. REAGAN
                                                                   United States District Judge
